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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA                                   Case No. 1:24-cr-00091 (GHW)

             -v-

ANDREY KOSTIN et al.,

                              Defendants.




     DECLARATION OF DAVID C. RYBICKI IN SUPPORT OF DEFENDANT
 VADIM WOLFSON’S MOTION TO SUPPRESS DEVICE PASSCODE AND RELATED
                              FRUITS


Pursuant to 28 U.S.C. § 1746, I, David C. Rybicki, declare under oath as follows:

   1. I am a partner at K&L Gates LLP in Washington, D.C., and counsel to Vadim Wolfson.

   2. I make this Declaration in support of Mr. Wolfson’s Motion to Suppress Device Passcode

       and Related Fruits (the “Motion”).

   3. Annexed as Exhibit A hereto is a true and correct copy of the Search and Arrest Warrant

       for Vadim Wolfson (the “Warrant”) (USAO_00000662), which shows that law

       enforcement was authorized to execute the warrant “on or before March 6, 2024 in the

       daytime 6:00 a.m. to 10:00 p.m.” The Warrant identifies the property to be searched and

       the particular things to be seized. The affidavit in support of the Warrant specifically states

       that the FBI has no authority to “compel WOLFSON to provide a numeric passcode.”

   4. Annexed as Exhibit B hereto is a true and correct copy of the FD-302 memorializing the

       arrest of Vadim Wolfson on February 22, 2024 (WOLFSON_00000001).
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5. I have personal knowledge that Mr. Wolfson has been aware of the criminal investigation

   in this matter since 2022 and has engaged counsel and produced documents to the

   government in connection with the investigation.

6. I am aware that prior to Mr. Wolfson’s arrest, but after he was notified of the criminal

   investigation, Mr. Wolfson left the United States, traveled internationally, and returned

   without incident. He had notified FBI of his international travel in advance.

7. I have reviewed video WOLFSON_00000348 of Mr. Wolfson’s arrest, which portrays the

   following:

       a. Early in the morning of February 22, 2024, Mr. Wolfson is handcuffed by law

          enforcement with his hands behind his back while only wearing his underwear.

       b. Mr. Wolfson is left handcuffed for around fifteen minutes, standing on the sidewalk

          near his house, in his underwear, before agents finally provide him with a t-shirt

          and athletic pants.

8. I have reviewed video WOLFSON_00000349 of Mr. Wolfson’s arrest, which portrays the

   following:

       a. Approximately three minutes after being provided with clothes, Mr. Wolfson is

          placed in the back seat of a law enforcement vehicle with his hands cuffed behind

          his back. Mr. Wolfson expresses how uncomfortably tight the handcuffs are. There

          is no indication that any agent read Mr. Wolfson his rights by this point in time.

       b. A law enforcement agent can be heard asking someone who appears to be FBI

          Special Agent                     whether he wanted to “sit here for a few [minutes]

          to talk to [Mr. Wolfson] to try to get him to give you his passcode.” SA

          declines to do so and indicates that they should “figure out where his phone is.”



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          The colleague then asks SA             , “You wanna ask where his phone is?” SA

                      responds: “Yeah.” The colleague suggests that this information was

          needed because someone else had exited the house with “three phones in her hand.”

        c. SA            then approaches Mr. Wolfson and has the following exchange:

   SA             : Um, so, we have a, uh, search warrant for your phone.

   Mr. Wolfson: It’s upstairs.

   SA             : It’s upstairs?

   Mr. Wolfson: Where I sleep.

   SA             : In your bedroom? On the nightstand?

   Mr. Wolfson: Yes.

   SA             : Okay.

   Mr. Wolfson: It’s charging.

   SA              : [to another agent] Hey         , it’s on the nightstand, the phone, it’s
   charging on the nightstand in the bedroom.

   Other Agent: Color?

   SA             : [to Mr. Wolfson] Color?

   Mr. Wolfson: It’s in [a] white case, and can someone bring my glasses as well please?

   Other Agent: Where are your glasses? Right next to it?

   Mr. Wolfson: Yes.

   SA             : Uh and then for your phone, is it facial recognition?

   Mr. Wolfson: Yes.

   SA             : Okay and there’s also a passcode as well?

   Mr. Wolfson: One six one six.

9. I have reviewed video WOLFSON_00000350 of Mr. Wolfson’s arrest, which portrays the

   following:

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  a. Mr. Wolfson is handcuffed in the law enforcement vehicle when SA               tells

     Mr. Wolfson, “We have an arrest warrant. I’ll show you the paperwork when we

     have a chance here. Like I said we have a search warrant for your phone. They’ll

     be taking that. And then there’s a few other things on the search warrant that we’re

     looking for—electronic devices and three paintings.”

  b. SA             then begins the Miranda process and presents Mr. Wolfson with the

     advice-of-rights form, Form FD-395. He notes that he has copies of in English and

     Russian.

  c. Mr. Wolfson indicates a preference for Russian, but it is unclear which version of

     the Form FD-395 is used.

  d. SA             asks a still-handcuffed Mr. Wolfson about his home address to fill

     out the Form FD-395.

  e. There is a brief discussion about the date and time for the Form FD-395, before an

     agent could be heard saying that “it’s a six-digit passcode.”

  f. SA             then interrupts the Miranda process and says to Mr. Wolfson: “It’s a

     six-digit passcode. What’s the passcode to your phone?”

  g. Mr. Wolfson responds to SA                 ’s question by providing the complete

     passcode, which was the same as the passcode originally provided, but with two

     additional digits in the middle.

  h. There is no indication that SA              had read Mr. Wolfson his rights at the

     time SA             resumed questioning Mr. Wolfson about his phone passcode.




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           i. There is no indication that Mr. Wolfson, who was looking at Form FD-395 when

               the questioning re-started, had any meaningful opportunity to review his rights

               himself.

           j. Moreover, Mr. Wolfson had previously requested that agents provide him with his

               glasses, and it is not clear that they had even done so by the time the document was

               placed in front of him.

   10. Annexed as Exhibit C hereto is a true and correct copy of the technical report regarding

       Mr. Wolfson’s phone and iPad (WOLFSON_00000343-WOLFSON_00000346) dated

       March 6, 2024 (the “Technical Report”), which provides:

           a. That Mr. Wolfson’s phone and iPad share the same passcode and this passcode was

               the sole means used to access both devices;

           b. That Mr. Wolfson’s phone and iPad were accessed using the passcode; and

           c. That the phone and iPad passcode were “provided by the owner of” the devices.

   11. The Technical Report and the videos of Mr. Wolfson’s arrest that include his interrogation

       regarding the passcode were not provided in the government’s April 5, 2024, production of

       materials regarding Mr. Wolfson’s arrest. These materials were not provided to defense

       counsel until November 6, 2024, after I asked the prosecution team to proffer the testimony

       that the FBI would offer if asked how agents gained access to Mr. Wolfson’s iPhone and

       iPad.

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November 25, 2024
       Washington, D.C.
                                                      /s/ David C. Rybicki
                                                      David C. Rybicki


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                          EXHIBIT A



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                          EXHIBIT B



                     [FILED UNDER SEAL]
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                          EXHIBIT C



                     [FILED UNDER SEAL]
